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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

COLLEGIATE LICENSING COMPANY, LLC
                                                     Case No. 24-cv-05136
                        Plaintiff,

v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                         COMPLAINT

       Plaintiff Collegiate Licensing Company, LLC (hereinafter, “CLC” or “Plaintiff”), hereby

brings the present action against the Partnerships and Unincorporated Associations identified on

Schedule A attached hereto (collectively, the “Defendants”) and alleges as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b),

and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores 1 operating under the seller aliases identified in

Schedule A attached hereto (collectively, the “Seller Aliases”). Specifically, Defendants have


1
 The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces and Domain
Names.
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targeted sales to Illinois residents by setting up and operating e-commerce stores that target

United States consumers using one or more Seller Aliases, offer shipping to the United States,

including Illinois, accept payment in U.S. dollars and/or funds from U.S. bank accounts, and, on

information and belief, have sold and continue to sell products using infringing and counterfeit

versions of the federally registered trademarks protected and enforced by Plaintiff to residents of

Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate

commerce, and has wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                      II. INTRODUCTION

       3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon the reputation and goodwill of Plaintiff and the CLC University Clients (as defined

herein) by offering for sale and/or selling unauthorized and unlicensed products using infringing

and counterfeit versions of one or more trademarks protected and enforced by Plaintiff (the

“Counterfeit Products”).

       4.      Defendants create e-commerce stores operating under one or more Seller Aliases

that are advertising, offering for sale and selling Counterfeit Products to unknowing consumers.

E-commerce stores operating under the Seller Aliases share unique identifiers, establishing a

logical relationship between them and demonstrating that Defendants’ counterfeiting operation

arises out of the same transaction, occurrence, or series of transactions or occurrences.

Defendants attempt to avoid and mitigate liability by operating under one or more Seller Aliases

to conceal both their identities and the full scope and interworking of their counterfeiting

operations. Plaintiff is forced to file this action to combat Defendants’ counterfeiting of the

trademarks protected and enforced by Plaintiff, as well as to protect unknowing consumers from

purchasing Counterfeit Products over the Internet. Plaintiff and the CLC University Clients have



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been irreparably harmed and continues to be irreparably damaged through consumer confusion,

dilution, and tarnishment of the valuable trademarks as a result of Defendants’ actions and seeks

injunctive and monetary relief.

                                      III. THE PARTIES

       5.      Plaintiff CLC is a Georgia limited liability company having its principal place of

business at 1075 Peachtree Street, Suite 3300, Atlanta, Georgia 30309.

       6.      Plaintiff CLC is a trademark licensing and enforcement agent that represents more

than 700 colleges, universities, bowl games, collegiate athletic conferences and other brands,

including the University of Florida, University of Michigan, and the University of North

Carolina at Chapel Hill (collectively, “CLC University Clients”) whose trademarks (the “CLC

Protected Trademarks” as defined below) are used on Counterfeit Products without authorization

and sold by one or more Defendants.

       7.      A significant aspect of CLC’s business has been for many years, and continues to

be, the licensing of famous collegiate trademarks including, but not limited to the CLC Protected

Trademarks. Indeed, the efforts of CLC together with the enormous popularity of the CLC

Protected Trademarks create valuable licensing royalties that support a myriad of programs,

operations and other educational and athletic initiatives of CLC University Clients (collectively,

“Programs”). CLC, on behalf of CLC University Clients, has entered into numerous trademark

licensing agreements in the United States and around the world, authorizing use of famous CLC

Protected Trademarks on a wide variety of products, including jerseys, caps, other apparel, and

many other products (collectively, “Genuine CLC Products”). Given CLC generates revenues

based upon the sale of Genuine CLC Products, CLC is significantly damaged by the sale of

Counterfeit Products, which decreases sales of Genuine CLC Products and thus causes



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significant financial and irreparable harm to CLC and the CLC University Clients, negatively

impacting the ability to support the Programs.

       8.      CLC University Clients are the owners of many famous and distinctive

trademarks and work in conjunction with CLC to license and protect those trademarks. CLC

University Clients commercially exploit, protect and enforce rights in the famous and distinctive

trademarks, names, logos, symbols, emblems, uniform designs, uniform trade dress colors, and

other identifying indicia associated with CLC University Clients, including, but not limited to,

those that are the subject of valid and subsisting trademark registrations on the Principal Register

of the United States Patent and Trademark Office and those that CLC University Clients have

adopted and used in commerce throughout the United States, including in Illinois.               CLC

University Clients own United States federal trademark registrations for specific marks in a

variety of classes and for a variety of different goods and services, including, without limitation,

many for apparel such as jerseys, shirts, caps, and other products in international class 25. A

non-exclusive list of the famous and distinctive trademarks that CLC University Clients have

registered before the United States Patent and Trademark Office, and currently in use in

commerce, include the following (collectively, the “CLC Protected Trademarks”):




                                      UF                  GATORS
 FLORIDA GATORS
                                U.S. Reg. No.           U.S. Reg. No.
U.S. Reg. No. 2,349,246
                                 2,199,793               2,206,967
                                                                                U.S. Reg. No.
                                                                                 1,975,079




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                                                      M GO BLUE
      MICHIGAN                WOLVERINES
                                                     U.S. Reg. Nos.
    U.S. Reg. Nos.             U.S. Reg. No.
                                                       2,781,716;            U.S. Reg. No.
 4,764,581; 1,310,132           2,357,021
                                                       1,307,632              1,364,137


  UNIVERSITY OF                 TAR HEELS                 UNC
 NORTH CAROLINA
                               U.S. Reg. No.          U.S. Reg. No.
U.S. Reg. No. 1,263,599         4,946,295              1,262,384             U.S. Reg. No.
                                                                              4,157,952

       The CLC Protected Trademarks are valid, subsisting, in full force and effect, and many

are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the CLC Protected

Trademarks constitute prima facie evidence of their validity and of CLC’s and the CLC

University Clients’ exclusive rights to use the CLC Protected Trademarks pursuant to 15 U.S.C.

§ 1057(b). True and correct copies of the Federal Trademark Registrations for the above CLC

Protected Trademarks are attached hereto as Exhibit 1.

       6.      As a result of the extensive use of CLC Protected Trademarks in connection with

a wide variety of genuine licensed merchandise promoted, sold and/or rendered in the United

States and abroad, as well as widespread use in connection with a broad array of educational and

athletic initiatives and sponsorship activities spanning diverse industries, such trademarks have

for many decades, and long prior to any use made by Defendants, functioned as unique source

identifiers in the public mind for CLC University Clients. As a result, CLC Protected

Trademarks are famous and possess significant goodwill of great value.

       7.       CLC, through its trademark licensing agency agreements with the CLC

University Clients, is authorized to protect and enforce the CLC Protected Trademarks on behalf

of the CLC University Clients. To protect CLC Protected Trademarks from infringement,

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dilution, disparagement, and misappropriation, CLC, in collaboration with CAPS (as defined

herein), has established a comprehensive program of trademark protection, including regularly

investigating suspicious e-commerce stores identified in proactive Internet sweeps and reported

by consumers.

       9.       The CLC Protected Trademarks are widely known to and enormously popular

with both sports fans and the general public. CLC has promoted and advertised the CLC

Protected Trademarks extensively for many years. The CLC Protected Trademarks are among

the most renowned and immediately recognizable marks in college sports today. As a result of

substantial advertising, promotion and media attention, and CLC’s extensive licensing for a wide

variety of goods and services, the CLC Protected Trademarks have acquired secondary meaning

and represent significant goodwill of great value to CLC and the CLC University Clients.

       10.      Millions of fans have attended sports games and related events, enjoyed television

and radio broadcasts of games and related events for the CLC University Clients, and purchased

merchandise bearing CLC Protected Trademarks to identify with their favorite CLC University

Client team.

       11.      CLC, directly and through authorized licensees, has established and maintained

high standards of quality for Genuine CLC Products (as defined herein), and continues to

maintain stringent quality control over licensees and other authorized users of CLC Protected

Trademarks.

       12.      In supervising licensees through its trademark license agreements entered into on

behalf of the CLC University Clients, CLC provides licensees and licensed product

manufacturers with specifications setting forth extensive details with respect to use of CLC

Protected Trademarks, including typeface and typography, color renderings, official uniform



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scripts, graphic designs, materials, workmanship, and quality. All Genuine CLC Products and

designs are reviewed under these strict quality control procedures. All Genuine CLC Products

must also be manufactured under certain standards of labor conditions.

The Defendants

       13.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified

on Schedule A and/or other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

or redistribute products from the same or similar sources in those locations. Defendants have the

capacity to be sued pursuant to Federal Rule of Civil Procedure 17(b).

       14.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operations make it

virtually impossible for Plaintiff to learn Defendants’ true identities and the exact interworking

of their counterfeit network. If Defendants provide additional credible information regarding

their identities, Plaintiff will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       15.     The fame of CLC Protected Trademarks and affiliated variety of licensed

products, including apparel, hats, jewelry, toys, furniture, pennants, and bags, among others

(collectively, the “Genuine CLC Products”), has resulted in significant counterfeiting of CLC

Protected Trademarks. In addition to other significant enforcement measures, CLC is a member

of the Coalition to Advance the Protection of Sports Logos (“CAPS”), which is administered by

Trademark Management LLC. CAPS has created an extensive anti-counterfeiting program,



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which includes regularly investigating suspicious e-commerce stores identified in proactive

Internet sweeps and reported by a variety of informants in response to the significant

counterfeiting of CLC Protected Trademarks. In recent years, CAPS, on behalf of its members,

including CLC, has identified numerous fully interactive e-commerce stores on online

marketplace platforms such as Amazon, eBay, AliExpress, Alibaba, Wish.com, Walmart, Etsy,

Temu, and DHgate, including the e-commerce stores operating under the Seller Aliases. The

Seller Aliases target consumers in this Judicial District and throughout the United States.

According to a U.S. Customs and Border Protection (CBP) report, in 2021, CBP made over

27,000 seizures of goods with intellectual property rights (IPR) violations totaling over $3.3

billion, an increase of $2.0 billion from 2020. Intellectual Property Rights Seizure Statistics,

Fiscal Year 2021, U.S. Customs and Border Protection (Exhibit 2). Of the 27,000 in total IPR

seizures, over 24,000 came through international mail and express courier services (as opposed

to containers), most of which originated from China and Hong Kong. Id.

       16.     Counterfeiters “routinely use false or inaccurate names and addresses when

registering with these Internet platforms,” that do not require sellers to verify their identities.

Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the Internet,

40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating Trafficking in

Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 4 and finding that on “at least

some e-commerce platforms, little identifying information is necessary for a counterfeiter to

begin selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary. Counterfeiters hedge against the risk of being caught and having their websites taken

down from an e-commerce platform by preemptively establishing multiple virtual store-fronts.



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Exhibit 4 at p. 22. Since platforms generally do not require a seller on a third-party marketplace

to identify the underlying business entity, counterfeiters can have many different profiles that can

appear unrelated even though they are commonly owned and operated. Exhibit 4 at p. 39.

Further, “E-commerce platforms create bureaucratic or technical hurdles in helping brand owners

to locate or identify sources of counterfeits and counterfeiters.” Exhibit 3 at 186-187.

        17.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds

from U.S. bank accounts, and, on information and belief, have sold Counterfeit Products to

residents of Illinois.

        18.     Defendants concurrently employ and benefit from substantially similar

advertising and marketing strategies. For example, Defendants facilitate sales of Counterfeit

Products by designing the e-commerce stores operating under the Seller Aliases so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers,

including, in many instances, by copying the layouts, terms of service, legal notices and/or

contact information found on the websites of Plaintiff’s authorized online retailers. E-commerce

stores operating under the Seller Aliases appear sophisticated and accept payment in U.S. dollars

and/or funds from U.S. bank accounts via credit cards, Alipay, Amazon Pay, and/or PayPal. E-

commerce stores operating under the Seller Aliases often include content and images that make it

very difficult for consumers to distinguish such stores from an authorized retailer.            On

information and belief, Plaintiff has not licensed or authorized Defendants to use any of the CLC

Protected Trademarks, and none of the Defendants are authorized retailers of Genuine CLC

Products.



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       19.     Many Defendants also deceive unknowing consumers by using one or more CLC

Protected Trademarks without authorization within the content, text, and/or meta-tags of their e-

commerce stores to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for Genuine CLC Products. Other e-commerce stores operating

under Seller Aliases omit using CLC Protected Trademarks in the item title to evade enforcement

efforts while using strategic item titles and descriptions that will trigger their listings when

consumers are searching for Genuine CLC Products.             On information and belief, those

Defendants that do not use CLC Protected Trademarks in searchable text do so in an effort to

avoid detection of their Counterfeit Products.

       20.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent one from learning their true identities and the

scope of their e-commerce operation.

       21.     E-commerce store operators like Defendants regularly register or acquire new

seller aliases for the purpose of offering for sale and selling Counterfeit Products. Such seller

alias registration patterns are one of many common tactics used by e-commerce store operators

like Defendants to conceal their identities, the full scope and interworking of their counterfeiting

operation, and to avoid being shut down.

       22.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same



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registration patterns, accepted payment methods, check-out methods, keywords, advertising

tactics, similarities in price and quantities, the same incorrect grammar and misspellings, and/or

the use of the same text and images. Additionally, Counterfeit Products for sale by the Seller

Aliases bear similar irregularities and indicia of being counterfeit to one another, suggesting that

the Counterfeit Products were manufactured by and come from a common source and that

Defendants are interrelated.

        23.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn and kuajingvs.com regarding tactics for operating multiple accounts, evading

detection, pending litigation, and potential new lawsuits.

        24.     Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of Plaintiff’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to Plaintiff. Indeed, analysis of financial

account transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from U.S.-based financial accounts to off-shore accounts outside the

jurisdiction of this Court.

        25.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Counterfeit Products in the same transaction,

occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Plaintiff or the CLC University Clients, have jointly and severally, knowingly and

willfully used and continue to use one or more CLC Protected Trademarks in connection with



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the advertisement, distribution, offering for sale, and/or sale of the Counterfeit Products into the

United States and Illinois over the Internet.

       26.     Defendants’ unauthorized use of one or more CLC Protected Trademarks in

connection with the advertising, distribution, offering for sale, and sale of Counterfeit Products,

including into the United States, including Illinois, is likely to cause and has caused confusion,

mistake, and deception by and among consumers and is irreparably harming Plaintiff.

                                  COUNT I
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       27.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

       28.     Defendants’ promotion, marketing, offering for sale, and/or sale of the

Counterfeit Products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with Plaintiff

and/or the CLC University Clients, or as to the origin, sponsorship, or approval of Defendants’

Counterfeit Products by Plaintiff and the CLC University Clients.

       29.     By using one or more CLC Protected Trademarks on the Counterfeit Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Products.

       30.     Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       31.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of

Plaintiff and its CLC Protected Trademarks.

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                                  PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily and permanently enjoined and restrained from:

      a. using any CLC Protected Trademarks or any reproductions, counterfeit copies, or

          colorable imitations thereof in any manner in connection with the distribution,

          promotion, marketing, advertising, offering for sale, or sale of any product that is not

          a Genuine CLC Product or is not authorized by Plaintiff or the CLC University

          Clients to be sold in connection with CLC Protected Trademarks;

      b. passing off, inducing, or enabling others to sell or pass off any products as Genuine

          CLC Products or any other products produced by Plaintiff that are not Plaintiff’s, or

          not produced under the authorization, control, or supervision of Plaintiff and

          approved by Plaintiff for sale under CLC Protected Trademarks;

      c. committing any acts calculated to cause consumers to believe that Defendants’

          Counterfeit Products are those sold under the authorization, control, or supervision of

          Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

      d. further infringing CLC Protected Trademarks and damaging Plaintiff’s goodwill; and

      e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff

          to be sold or offered for sale, and which bear any trademarks protected by Plaintiff,




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           including the CLC Protected Trademarks, or any reproductions, counterfeit copies, or

           colorable imitations thereof;

2) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Domain Names shall be

   changed from the current registrant to Plaintiff, and that the domain name registries for the

   Domain Names, including, but not limited to, VeriSign, Inc., Registry Services, LLC, Afilias

   Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and change the

   registrar of record for the Domain Names to a registrar of Plaintiff’s selection, and that the

   domain name registrars, including, but not limited to, GoDaddy.com, LLC, Name.com, PDR

   LTD. d/b/a PublicDomainRegistry.com, and Namecheap Inc., shall take any steps necessary

   to transfer the Domain Names to a registrar account of Plaintiff’s selection; or that the same

   domain name registries shall disable the Domain Names and make them inactive and

   untransferable;

3) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com, Walmart, Etsy, Temu, and DHgate shall disable and cease displaying

   any advertisements used by or associated with Defendants in connection with the sale of

   counterfeit and infringing goods using CLC Protected Trademarks;

4) That Defendants account for and pay to Plaintiff all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged and that the amount of damages for infringement

   of CLC Protected Trademarks be increased by a sum not exceeding three times the amount

   thereof as provided by 15 U.S.C. § 1117;




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5) In the alternative, that Plaintiff be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   CLC Protected Trademarks;

6) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.




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Dated this 20th day of June 2024.     Respectfully submitted,


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